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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


Bruce Teitelbaum and CNTRST Debt                 CASE NO. 21-CV-02702
Recovery, L.L.C.,
                                                 HON. SARA E. ELLIS
                    Plaintiff,
                                                 MAGISTRATE HON. JEFFREY I
             vs.                                 CUMMING

Ruben Ybarra, YRY Holdings LLC,
Boulder Hills Apartments,

                    Defendant.


                              PLAINTIFFS’ UNOPPOSED MOTION TO
                              EXTEND FACT DISCOVERY DEADLINE
                           IN CASES CONSOLIDATED FOR DISCOVERY

         Bruce Teitelbaum and CNTRST Debt Recovery, L.L.C. (“Plaintiffs”), for their

Unopposed Motion to Extend the Deadline for Conducting Fact Discovery in this case,

and Case No. 21-CV-02576, state as follows:


                   1.     On May 19, 2021, Plaintiffs filed their Complaint and thus

commenced the above-referenced case (DE 1) (“Complaint”).

                   2.     On July 22, 2021, Defendants filed the Defendants’ Combined

Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6). (DE 12)

                   3.     On December 15, 2021, the Court entered an Order dismissing

without prejudice the claim under the Declaratory Judgment Act (DE 27). The order of

December 15, 2021, also advised that fact discovery closes on July 26, 2022. The parties

were further directed in the December 15, 2021 order, to file a joint status report by

July 26, 2022 indicating the status of fact discovery, the status of settlement

discussions, and whether the parties request a referral to the magistrate judge for

settlement purposes; whether the parties require expert discovery prior to dispositive

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motion practice; and proposed schedules for expert discovery and summary judgment

briefing, where applicable. Id.

             4.     Pursuant to Fed. R. Civ. P. 12(a)(4), Defendants’ answer to the

Complaint was due on or before December 29, 2021. Fed. R. Civ. P. 12(a)(4). Defendants

requested, and Defendants were granted, additional time to answer the Complaint up

to and including January 28, 2022 (DE 31). That request was unopposed by Plaintiffs.

             5.     The Court’s Order of December 15, 2021, also required the parties to

propound written discovery on or before January 21, 2022 (DE 27). The date to

propound written discovery was then extended to February 11, 2022. This occurred

after the Court granted Defendants’ motion for additional time to answer to January

28, 2022 (DE 34).

             6.     Since February, Plaintiffs and Defendants have propounded written

party discovery. Plaintiffs believe additional time is needed to complete written party

discovery. Each side has objected to certain aspects of the written discovery and the

parties are endeavoring to resolve any issues and seeking the involvement of the Court

for issues that have not been resolved consensually.

             7.     In addition to the party discovery, Plaintiffs also served eight (8)

subpoenas to obtain documents and oral testimony from third parties. At present, most

of the recipients of the subpoenas have indicated they require additional time to provide

responsive documents. Once compliance with the document request has been obtained,

Plaintiffs intend to depose the recipients of the subpoenas. Plaintiffs also anticipate

serving an additional ten (10) or so more subpoenas to third parties.

             8.     On May 31, 2022, the Court entered an Order consolidating

discovery in this case with discovery in a similar case before the Court involving a

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different plaintiff, but the same defendants and similar factual allegations. See

CenTrust Bank, N.A. v. Ybarra, et al., 21-CV-02576. The CenTrust Bank cases involves

the same defendants as this case and similar facts and causes of action. Plaintiffs

anticipate that a request similar to this one will be filed in the CenTrust Bank case.

Plaintiffs also have been working with CenTrust Bank to coordinate consolidated

discovery.

               9.      In light of the foregoing, Plaintiffs request an additional ninety-days

(90) days to complete fact discovery in this case. This request is not interposed for

purposes of delay or to obtain any improper advantage. Plaintiffs require additional

time to complete fact discovery because (a) written discovery was propounded

approximately 120-days ago and completing it requires additional time, (b) the parties

are endeavoring to resolve contested issues related to written discovery, but anticipate

Court intervention on certain discovery issues will be needed, (c) until written discovery

is completed, Plaintiffs are unable to commence party-depositions, and (d) discovery

from third-parties is taking longer than anticipated due to scheduling issues outside of

Plaintiffs’ control.

               10.     During a Rule 37 conference, Defendants were asked, through

counsel, if they had an objection to extending the deadline for fact discovery and

Defendants indicated they did not object to such an extension.

         WHEREFORE, for all of the reasons set forth herein, Bruce Teitelbaum and

CNTRST Debt Recovery, respectfully request that the Court extend the deadline for the

parties to complete fact discovery by 90 days to October 28, 2022, and provide such

other and further relief as is warranted.


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                                              Respectfully submitted,

                                              Bruce Teitelbaum and
                                              CNTRST Debt Recovery LLC


                                              By:/s/William J. Factor
                                              One of Their Attorneys

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